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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page1of15 Page ID #:32

~

 

nw,
LAW OFFICES OF TODD M. FRIEDMAN, P.C.
Todd M. Friedman, Esq. (SBN: 216752)
Nicholas J. Bontrager, Esq. (SBN: 252114)
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369 S. Doheny Dr., #415
Beverly Hills, CA 90211
Telephone: (877) 206-4741
Facsimile: (866) 633-0228

   

CENTRAL DISTRICT OF CALI
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FORNIA
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KAZEROUNI LAW GROUP, APC
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ak@kazig.com

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HYDE & SWIGART

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Telephone: (619) 233-7770

Facsimile: (619) 297-1022

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

— we

JAMES GUSMAN, Case GN 1 4 ~ 0 0 1 d 4 ~~ Ae

INDIVIDUALLY AND ON fa
BEHALF OF ALL OTHERS CLASS ACTION COMPLAINT FOI
SIMILARLY SITUATED, DAMAGES
Plaintiff, JURY TRIAL DEMANDED
Vv.

PROCOLLECT, INC.,

Defendant.

 

 

 

 

 

 

 

 

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~ CLERK, U.S. DISTRICT COURT |

  

JAN ~ 6 2014

CLASS ACTION COMPLAINT - 1

 

 

 

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Case 2:14-cv-00144-SJO-AS Document1i Filed 01/07/14 Page2of15 Page ID#:3

1. JAMES GUSMAN (“Plaintiff”) brings this Class Action Complaint
for damages, injunctive relief, and any other available legal or equitable remedies,
resulting from the illegal actions of PROCOLLECT, INC. (“Defendant”), in
negligently and/or willfully contacting Plaintiff on Plaintiff's cellular telephone,
in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.,
(“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon
personal knowledge as to himself and his own acts and experiences, and, as to all
other matters, upon information and belief, including investigation conducted by
his attorneys.

2. The TCPA was designed to prevent calls and text messages like the
ones described herein, and to protect the privacy of citizens like Plaintiff.
‘“Voluminous consumer complaints about abuses of telephone technology — for
example, computerized calls dispatched to private homes — prompted Congress to
pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

3. In enacting the TCPA, Congress intended to give consumers a choice
as to how corporate similar entities may contact them, and made specific findings
that “[t]echnologies that might allow consumers to avoid receiving such calls are
not universally available, are costly, are unlikely to be enforced, or place an
inordinate burden on the consumer. TCPA, Pub.L. No. 102-243, § 11. In
support of this, Congress found that

[bJanning such automated or prerecorded telephone
calls to the home, except when the receiving party
consents to receiving the call or when such calls are
necessary in an emergency situation affecting the health
and safety of the consumer, is the only effective means
of protecting telephone consumers from this nuisance
and privacy invasion.

CLASS ACTION COMPLAINT - 2

 

 
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Case 2:14-cv-00144-SJO-AS Documenti Filed 01/07/14 Page3of15 Page ID#:3

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
3292838, at* 4 (N.DJll. Aug. 10, 2012) (citing Congressional findings on
TCPA’s purpose).

4. Congress also specifically found that “the evidence presented to the
Congress indicates that automated or prerecorded calls are a nuisance and an
invasion of privacy, regardless of the type of call....” Id. at §§ 12-13. See also,
Mims, 132 8. Ct. at 744.

5. As Judge Easterbrook of the Seventh Circuit recently explained in a

TCPA case regarding calls to a non-debtor similar to this one:

The Telephone Consumer Protection Act ... is well
known for its provisions limiting junk-fax
transmissions. A less-litigated part of the Act curtails
the use of automated dialers and prerecorded messages
to cell phones, whose subscribers often are billed by the
minute as soon as the call is answered—and routing a
call to voicemail counts as answering the call. An
automated call to a landline phone can be an
annoyance; an automated call to a cell phone adds
expense to annoyance.

Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
JURISDICTION AND VENUE

6. This Court has federal question jurisdiction because this case arises
out of violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs.,
LLC, 132 S. Ct. 740 (2012).

7. Venue is proper in the United States District Court for the Central
District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
Defendant is subject to personal jurisdiction in the County of Los Angeles, State

CLASS ACTION COMPLAINT ~ 3

 
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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page4of15 Page ID#:3

of California and Plaintiff resides within the County of Los Angeles, State of
California.
PARTIES

8. Plaintiff is, and at all times mentioned herein was, a citizen and
resident of the State of California. Plaintiff is, and at all times mentioned herein
was, a “person” as defined by 47 U.S.C. § 153 (10).

9, Plaintiff is informed and believes, and thereon alleges, that
Defendant is, and at all times mentioned herein was, a corporation whose State of
Incorporation and principal place of business is in the State of Texas. Defendant,
is and at all times mentioned herein was, a corporation and is a “person,” as
defined by 47 U.S.C. § 153 (10). Plaintiff alleges that at all times relevant herein
Defendant conducted business in the State of California and in the County of Los
Angeles, and within this judicial district.

FACTUAL ALLEGATIONS

10. Atall times relevant, Plaintiff was a citizen of the State of California.
Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47
U.S.C. § 153 (10).

11. Defendant is, and at all times mentioned herein was, a corporation
and a “person,” as defined by 47 U.S.C. § 153 (10).

12. At all times relevant Defendant conducted business in the State of
California and in the County of Los Angeles, within this judicial district.

13. Beginning sometime on or around September of 2013, Defendant
began to utilize Plaintiff's cellular telephone number, ending in 0525, in an
attempt to collect an alleged debt owed by someone other than Plaintiff.

14. On at least three (3) occasions, that being September 3, 2013,
September 6, 2013 and September 9, 2013, when Plaintiff did not answer

Defendant’s call, Defendant left Plaintiff a voicemail message on his cellular

CLASS ACTION COMPLAINT - 4

 
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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page5of15 Page ID #4

telephone which utilized a pre-recorded or artificial voice requesting a return call
to a telephone number ending in 3799 regarding an alleged debt owed by an
individual other than Plaintiff.

15. The calls Defendant placed to Plaintiffs cellular telephone were
placed via an “automatic telephone dialing system,” (“‘ATDS”) as defined by 47
U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (6)(1)(A).

16. This ATDS has the capacity to store or produce telephone numbers
to be dialed, using a random or sequential number generator.

17. The telephone number that Defendant, or its agents, called was
assigned to a cellular telephone service for which Plaintiff incurs a charge for
incoming calls pursuant to 47 U.S.C. § 227 (b)(1).

18. These telephone calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227 (b)(1)(A)Q@).

19. Plaintiff is not the individual Defendant seeks to collect the alleged
debt from and Plaintiff is not a subscriber nor client of Defendant’s services.
Thus, at no time did Plaintiff provide Defendant or its agents with prior express
consent to receive unsolicited text messages, pursuant to 47 U.S.C. § 227
(b)(1)(A).

20. These telephone calls by Defendant, or its agents, violated 47 U.S.C.
§ 227(b)(1).

CLASS ACTION ALLEGATIONS

21. Plaintiff brings this action on behalf of himself and on behalf of and
all others similarly situated (‘the Class”).

22. Plaintiff represents, and is a member of, the Class, consisting of All
persons within the United States who received any telephone call/s from
Defendant or its agent/s and/or employee/s to said person’s cellular telephone

made through the use of any automatic telephone dialing system or with an

CLASS ACTION COMPLAINT - 5

 

 

 

 

 

 

 

 

 

 
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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page6of15 Page ID ws

artificial or prerecorded voice within the four years prior to the filling of the
Complaint.

23. Defendant and its employees or agents are excluded from the Class.
Plaintiff does not know the number of members in the Class, but believes the
Class members number in the thousands, if not more. Thus, this matter should be
certified as a Class action to assist in the expeditious litigation of this matter.

24. Plaintiff and members of the Class were harmed by the acts of
Defendant in at least the following ways: Defendant, either directly or through its
agents, illegally contacted Plaintiff and the Class members via their cellular
telephones, thereby causing Plaintiff and the Class members to incur certain
cellular telephone charges or reduce cellular telephone time for which Plaintiff
and the Class members previously paid, and invading the privacy of said Plaintiff
and the Class members. Plaintiff and the Class members were damaged thereby.

25. This suit seeks only damages and injunctive relief for recovery of
economic injury on behalf of the Class, and it expressly is not intended to request
any recovery for personal injury and claims related thereto. Plaintiff reserves the
right to expand the Class definition to seek recovery on behalf of additional
persons as warranted as facts are learned in further investigation and discovery.

26. The joinder of the Class members is impractical and the disposition
of their claims in the Class action will provide substantial benefits both to the
parties and to the court. The Class can be identified through Defendant’s records
or Defendant’s agents’ records.

27. There is a well-defined community of interest in the questions of law
and fact involved affecting the parties to be represented. The questions of law
and fact to the Class predominate over questions which may affect individual

Class members, including the following:

CLASS ACTION COMPLAINT - 6

 
 

 

Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page 7of15 Page ID whe

a) | Whether, within the four years prior to the filing of this Complaint,
Defendant or its agents placed any calls to the Class (other than a
call made for emergency purposes or made with the prior express
consent of the called party) to a Class member using any automatic
dialing system to any telephone number assigned to a cellular phone
Service;

b) | Whether Plaintiff and the Class members were damaged thereby, and
the extent of damages for such violation; and

c) Whether Defendant and its agents should be enjoined from engaging
in such conduct in the future.

28. As a person that received numerous calls from Defendant via an
automated telephone dialing system and/or an artificial or pre-recorded voice,
Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly and
adequately represent and protect the interests of the Class in that Plaintiff has no
interests antagonistic to any member of the Class.

29. Plaintiff and the members of the Class have all suffered irreparable
harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a
class action, the Class wil! continue to face the potential for irreparable harm. In
addition, these violations of law will be allowed to proceed without remedy and
Defendant will likely continue such illegal conduct. Because of the size of the
individual Class member’s claims, few, if any, Class members could afford to
seek legal redress for the wrongs complained of herein.

30. Plaintiff has retained counsel experienced in handling class action
claims and claims involving violations of the Telephone Consumer Protection
Act.

31. A class action is a superior method for the fair and efficient

adjudication of this controversy. Class-wide damages are essential to induce

CLASS ACTION COMPLAINT - 7

 
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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page 8of15 Page ID cho

Defendant to comply with federal and California law. The interest of Class
members in individually controlling the prosecution of separate claims against
Defendant is small because the maximum statutory damages in an individual
action for violation of privacy are minimal. Management of these claims is likely
to present significantly fewer difficulties than those presented in many class
claims.

32. Defendant has acted on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief and corresponding declaratory
relief with respect to the Class as a whole.

FIRST CAUSE OF ACTION
NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
PROTECTION ACT
47 U.S.C. § 227 ET SEQ.

33. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

34. The foregoing acts and omissions of Defendant constitute numerous
and multiple negligent violations of the TCPA, including but not limited to each
and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

35. As aresult of Defendant’s negligent violations of 47 U.S.C. § 227 et
seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

36. Plaintiff and the Class are also entitled to and seek injunctive relief
prohibiting such conduct in the future.

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CLASS ACTION COMPLAINT - &

 
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Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page9of15 Page ID wdo

SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE
TELEPHONE CONSUMER PROTECTION ACT
47 U.S.C. § 227 ET SEQ.

37. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

38. The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
seq.

39. Asa result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00
in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(C).

40. Plaintiff and the Class are also entitled to and seek injunctive relief
prohibiting such conduct in the future.

PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The

Class members the following relief against Defendant:

FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF THE
TCPA, 47 U.S.C. § 227 ET SEQ.

41. As a result of Defendant’s negligent violations of 47 U.S.C. §
227(b)(1), Plaintiff seeks for himself and each Class member $500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)3)(B).

42. Pursuant to 47 U.S.C. § 227(b)G)(A), injunctive relief prohibiting
such conduct in the future.

43. Any other relief the Court may deem just and proper.

CLASS ACTION COMPLAINT - 9

 
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SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
VIOLATIONS OF THE TCPA, 47 U.S.C. § 227 ET SEQ.

44. Asa result of Defendant’s knowing and/or willful violations of 47
U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00
in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(C).

45. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
such conduct in the future.

46. Any other relief the Court may deem just and proper.

TRIAL BY JURY
47. Pursuant to the seventh amendment to the Constitution of the United

States of America, Plaintiffs are entitled to, and demand, a trial by jury.

Respectfully submitted this 3rd day of January, 2014.

LAW OFFICES OF TODD M¢-FRIEDMAN, P.C.

By: /
Todd M. Frié
Law Offices of Todd M. Friedman
Attorney for Plaintiff

CLASS ACTION COMPLAINT - 10

 
Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page11o0f15 Page ID #:42

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge S. James Otero and the assigned

Magistrate Judge is Alka Sagar

The case number on all documents filed with the Court should read as follows:

2:14-CV-00144-SJO (ASx)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. S. District Court

January 7, 2014 By MDAVIS
Date Deputy Clerk

 

 

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is

filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [_] Southern Division [_] Eastern Division
312.N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
Case 2:14-cv-00144-SJO-AS Document1 Filed 01/07/14 Page 12o0f15 Page ID #:43

Todd-M. Friedman, Esq.
_L&w Offices of Todd M. Friedman, P.C.
_~ 369 S. Doheny Dr., #415
"Beverly Hills, CA 90211
Phone: 877-206-4741
Fax: §66-633-0228
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
JAMES GUSMAN, INDIVIDUALLY AND ON CASE NUMBER
BEHALF OF ALL OTHERS SIMILARLY cn eee

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PLAINTIFE(S)

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PROCOLLECT, INC.

 

SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S): PROCOLLECT, INC.

 

A lawsuit has been filed against you.

Within 21 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached © complaint O amended complaint
O counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, Todd M. Friedman , Whose address is
Law Offices of Todd M. Friedman, 369 S. Doheny Dr., #415, Beverly Hills, CA 90211. If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

Dated: YAN - 7 2014 By: [WVoielye Ls

Deputy Cleft

(Seal of the Court}

 

[Use G0 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States, Allowed
60 days by Rule 12(a)(3)}.

 

CV-O1A (12/07) SUMMONS

 
Case 2:14-cv-00144-SJO-AS Document 1 Filed 01/07/14 Page 130f15 Page ID #:44
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

DEFENDANTS

 

I. (a) PLAINTIFFS ( Check box if you are representing yourself ["] ) ( Check box if you are representing yourself [_] )
JAMES GUSMAN, INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY

SITUATED PROCOLLECT, INC,

 

(b) County of Residence of First Listed Plaintiff
{EXCEPT IN U.S, PLAINTIFF CASES)

County of Residence of First Listed Defendant
{IN U.S, PLAINTIFF CASES ONLY}

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

LAW OFFICES OF TODD M, FRIEDMAN, P.C,

369 S. Doheny Dr., #415

Beverly Hills, CA 90211

Telephone: (877) 206-4741

ll. BASIS OF JURISDICTION (Place an X in one box only.)

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

 

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

. PTF DEF PTF DEF
1, U.S. Government [X] 3. Federal Question (US, Citizen of This State Ci gh Incorporated or Principat Place O44
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [j 2 [[] 2 Incorporated and Principal Place [J 5 (] 5
2US.G oe Of (ind Cit hi c b ' of Business in Another State
. U.S, Government . Diversity (Indicate Citizenship — |Citlzen or Subject of a Forel ti
Defendant of Parties in Item II!) Foreign Country [13 [3 Fereign Nation f]6 0 6

 

IV. ORIGIN (Place an X in one box only.)

1, Original 2, Removed from
Proceeding State Court C}

6. Multi-
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Litigation

4, Reinstated ar
Reopened

3, Remanded from
Appellate Court

5. Teansferred from Another
District (Specify}

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V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No

CLASS ACTION under F.R.Cv.P. 23: [x]Yes [_]No [_] MONEY DEMANDED IN COMPLAINT: $

Vi. CAUSE OF ACTION (Cite the U.S, Civil Statute under which you are filing and write a brief statement of cause, Do not cite jurisdictional statutes unless diversity.)
47 U.S.C, 227; Telephone Consumer Protection Act

(Check "Yes" only if demanded in complaint.)

 

VII. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

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[] 460 Deportation Enforcement of 315 Airplane (J 371 Truth in Lending |(7] 540 Mandamus/Other |[[] 863 DIWC/DIWW (405 (g))
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FOR OFFICE USE ONLY:

CV-71 (11/13)

Case Number:

UVi4-00144

CIVIL COVER SHEET

Page 1 of 3

 
Case 2:14-cv-00144-SJO-AS Documenti1 Filed 01/07/14 Page 140f15 Page ID#:45
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

VIE. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initfally assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

Question A: Was this case removed from
state court?

_ STATE CASE WAS PENDING IN THE COUNTY OF;

INITIAL DIVISION IN CACD 1S:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[] Yes No ([] Los Angeles Western
if "no," go to Question B, If “yes,” check the |[[_] Ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the
corresponding division in response to ["] Orange Southern
Question D, below, and skip to Section IX.
(C] Riverside or San Bernardino Eastern
Question B: [s the United States, or one of If the United States, or one of its agencles or employees, is a party, is it:
its agencies or employees, a party to this .
action? . INITIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
CACD IS:
[J Yes No _ Then check the box belaw for the county in Then check the box below fox the county In
which the majority of DEFENDANTS reside, which the majority of PLAINTIFFS reside,
If “no, " go to Question C, If "yes," checkthe |[7] Los Angeles [_] Los Angeles Western
box to the right that applies, enter the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
corresponding division In response to J Obispo CO Obispo Western
Question D, below, and skip to Section IX.
‘ , P CL] Orange LL] Orange Southern
([] Riverside or San Bernardino L] Riverside or San Bernardino Eastern
[] Other (_] Other Western
' : A, B, CG, cD. . E. F.
C: Soret
plaintiffs defendants, and of ims? Los’ Angeles | Ventura, Santa Barbara, or | Orange County Riverside or San Outside the Central Other
(Make only one selection per row) County San Luts Obispo Counties . Bernardino Counties District of California ,
Indicate the location in which a
majority of plaintiffs reside: LJ CL] [) C) L_]
Indicate the location in which a
majority of defendants reside: C] L] C] LJ C
Indicate the location in which a x
majority of claims arose: L] C] (] CO C)

 

[_] 2 er more answers in Column C

CL only 1 answer in Column C and no

C.1, Is either of the following true? If so, check the one that applies:

Your case will Inittally be assigned to the
SOUTHERN DIVISION.
Enter “Southern” in response to Question D, below.

\f none applies, answer question C2 to the right.

[] 2 or more answers in Column D

answers in Column D

—

 

C.2, Is either of the following true? If so, check the one that applies:

[_] only 1 answer in Column D and no answers in Column C

Your case will initially be assigned to the
EASTERN DIVISION,
Enter “Eastern” In response to Question D, below,

lf none applies, go to the box below. 1

 

Your case will initially be assigned to the
WESTERN DIVISION.
Enter “Western” In response to Question D below.

 

 

 

 

 

Question D; Initial Division?

INITIAL DIVISION IN CACD

 

Enter the Initial division determined by Question A, B, or C above: maa»

 

 

WESTERN

 

 

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CIVIL COVER SHEET

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
IX(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO [_] YES
If yes, list case number(s}:
IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO L] Yes

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) LC A, Arise from the same or closely related transactions, happenings, or events; or
C] B. Call for determination of the same or substantially nL r questions of law and fact; or
of labor,

C C. For other reasons would entail substantial duplicat} heard by different judges; or

 

LJ D. Involve the same patent, trademark or copyrght.and one pf the factors identified above in a, b or calso is present,

X. SIGNATURE OF ATTORNEY / (
(OR SELF-REPRESENTED LITIGANT): _ DATE 173/14
SS

Notice to Counsel/Parties: The CV-71 (JS-44) Civll Cover Sheet anak formation contained herein neither replace nor supplement the fillng and service of pleadings or

other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 fs not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet, (For more detailed Instructions, see separate instructions sheet).

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended, Also,

861 HIA include claims by hospitals, skilled nursing facilities, etc,, for certification as providers of services under the program.
(42 U.S.C, 1935FF(b))

862 BL All calms for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C,
923

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's Insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWw All clatms filed for widows or widowers Insurance benefits based on disability under Title 2 of the Social Security Act, as
amended, (42 U,S,C, 405 {g))

864 SSID All claims for supplemental security income payments based upon disabllity filed under Title 16 of the Soctal Security Act, as

865 RSI All clalms for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42. U.S.C. 405 (g)}

 

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